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8/2/2019

Paralegal Dylan McManus
US. DOJ

1 Courthouse Way
Boston, MA 02210

Re: Search Warrant dated July 01, 2019 (Google Ref. No. 2610712)
19-MJ-6310-MPK

Dear Paralegal McManus:

Pursuant to the Search Warrant issued in the above-referenced matter, we have conducted
a diligent search for documents and information accessible on Google’s systems that are
responsive to your request. Our response is made in accordance with state and federal law,
including the Electronic Communications Privacy Act. See 18 U.S.C. § 2701 et seq.

Accompanying this letter is responsive information to the extent reasonably accessible
from our system associated with the Google account(s), HOMAZADEH, 9DHODGE, MJANAVS,
ALPERT305, DIANEBLAKE, LGIANNULLLI, KYLIE.SCHUYLER, GAMALAZIZ797,
AMYCOLBURNI, EKIMMELS8, as specified in the Search Warrant. We have also included a
signed Certificate of Authenticity which includes a list of hash values that correspond to each file
contained in the production. Google may not retain a copy of this production but does endeavor to
keep a list of the files and their respective hash values. To the extent any document provided
herein contains information exceeding the scope of your request, protected from disclosure or
otherwise not subject to production, if at all, we have redacted such information or removed such
data fields.

Please note that Google Pay service data is under the control of Google Payment
Corporation. Any request for such data must be specifically addressed to Google Payment

Corporation and can be served through the email address googlepayments@google.com.

Finally, in accordance with Section 2706 of the Electronic Communications Privacy Act,
Google may request ret1mbursement for reasonable costs incurred in processing your request.

Regards,

Claire Cole
Google Legal Investigations Support

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CERTIFICATE OF AUTHENTICITY
I hereby certify:

1. Iam employed by Google LLC ("Google"), located in Mountain View, California. I am
authorized to submit this affidavit on behalf of Google. I have personal knowledge of the
following facts, except as noted, and could testify competently thereto if called as a witness.

2. I am qualified to authenticate the records because I am familiar with how the records
were created, managed, stored and retrieved.

3. Google provides Internet-based services.

4, Attached is a true and correct copy of records pertaining to the Google account-holder(s)
identified with account(s) HOMAZADEH, 9DHODGE, MJANAVS, ALPERT305, DIANEBLAKE,
LGIANNULLI, KYLIE.SCHUYLER, GAMALAZIZ797, AMYCOLBURNI, EKIMMELS8, with
Google Ref. No. 2610712 (“Document”). Accompanying this Certificate of Authenticity as
Attachment A is a list of hash values corresponding to each file produced in response to the
Search Warrant.

5. The Document is a record made and retained by Google. Google servers record this data
automatically at the time, or reasonably soon after, it is entered or transmitted by the user, and this
data is kept in the course of this regularly conducted activity and was made by regularly
conducted activity as a regular practice of Google.

6. The Document is a true duplicate of original records that were generated by Google’s
electronic process or system that produces an accurate result. The accuracy of Google’s

electronic process and system is regularly verified by Google.

7. Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true
and correct to the best of my knowledge.

___/s Claire Cole Date: 8/2/2019
(Signature of Records Custodian)

Claire Cole
(Name of Records Custodian)

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Attachment A: Hash Values for Production Files (Google Ref. No. 2610712)
9dhodge.938017592116.AccessLogs.Activity.zip:

MD5- 83bbc0971dc6a28588 1609f775711c92

SHAS 12-

23d3305a3ba420dcf047c48ab74b694c3 1b8536d28584cccfb3 be 9dfb46e7a00bab6f4 88ba5 9f78080
03359884e348cecbadel 8a4c6c909cb2 125 1753b2£772d7

9dhodge.938017592116.GooglePhotos.PhotoResource_001.zip:

MD5- 7¢cc697b9726c9fe4f095d74c0aelece7

SHAS 12-

2fd85ab0f889024b2 1a8 1¢12708f6475bd96a2e2344b8eb 1a5 7cab6dbc 1473 13518568b4bd820cf78
dbdf70a32465 1d137f9705d58a9b3a4 9f9da3 9fdal 2 1d0f

9dhodge.938017592116.GooglePhotos.PhotoResource_002.zip:

MD5- 6a3c3dfc04d756c29c500f328d7a6ddc

SHA512-

c9d8b76126de0229259d5984a27¢e7965d0094adf5 6a13 12¢74d2ece80660334635676bfal c89f7bae
bed6a83b7ce9%aal 6c3c848 141964 ffc764 1 5b8f3 1345128

9dhodge.AccountInfo.txt:

MD5- 10ac8ccac275cc3660a8ec0a0d09f64e

SHAS 12-
558a4e57ea0fe9ba55c0133e338bb72 10b44d4d 18b7cb5al 69347e78a44cb4f51986226b46cc40a29
91d620e5bf866b0f3 14 1628ac9209734e 143 le7c7f34b21

9dhodge.Calendar.Events.zip:

MD5- c903dc3efac0bc39 1860743665 8822 1c

SHA512-

eac484aa64b8c5b54b4d877ea35eb26904878d69f9cdff0 1c26a53df8a66fe02 168 1 b&2ba6f729a6ca
613dbde49f98ec93d18f1d1049b6a757£85f2103997b6c

9dhodge.Chats.zip:

MD5- 02fa60d79 | fecbe6847b37ff40be4c2b

SHA512-

4a06 1f0c6bb4c0ea9fce2e5de00c2e90f03b 1 96fa57800bb043b99 | 3d0b4060f0 1 3cf8087ad68490624
e1da32 laf9ffce79b7 1 4ed123 1603b13c13£7d747abe46

9dhodge.Drive.Metadata.zip:

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MD35- 8bleaa368 le7be ld 1cOcd7fecc0d4 14

SHAS 12-

74a87c7b4e03 8319 lab608 f4af44abcd63525f3e7c348 1 f29aec7bce354 1 9afeae209b2208e69fa8aaat
9¢558ddb920e495484cd9c7b979f8c73d5fe555d81704e

9dhodge.Drive_001.zip:

MD5- 349ca9acde 12836c6266fddcda75ab90

SHAS 12-

$5fec4c28669a6a78 1 0d6e4d76ae3796 | 2eb222b5599ea5fc7c9572e5c97 1 8£99d29fb46904e0950d
€68783a2c le38ea4348dcfbd0b39ec36 106303 9fdffdb00

9dhodge.Gmail.Contacts.vcf:

MD5- d86bce192b676f397f9fbdcdceaSa0a5

SHA512-

5735cbc6ee8 15 10e7c4ccfb09014356ddb940fe02d496 1c l bb4fcf02a8 fe22d6cb40d0c04af96e2b39
43eef7cbe90cf101286255a7dc7337653b93790f3553ad

9dhodge@gmail.com.Gmail.Content.mbox:

MD35- 84ecea063f402842a895e259cb6f37b5

SHAS 12-

aef95ff03c05b7b3cb73de040bc9c3b48fa5c4e026eaecb60ff72e45d47b8659 la43acbe6115b0946e
684153b161bd455981915a2dd9b7 16ab03 1b263309ad0a

alpert305.1032025566401.AccessLogs.Activity.zip:

MD5- a632d04832f0 120b469e8d 173407354

SHA512-

acc4030abdcd9db30eb6Sfc 1 8da8d46ebcf96dafcd65ba86 1c933838cf74fd02ae3b 1f1c162f3b3ee
7e6 1c3e977£30f5594572¢5 14c8ba9facaa23b566 lc8e

alpert305.1032025566401.GooglePhotos.PhotoResource_001.zip:

MD5- d7ab495f78daab73fd27f2cf56c684a0

SHAS 12-

fdd529f0f5 10c8a290377f53258287 165dd9 189fa8fd03344f5 18266a7784f3eb7b0cec 10a06a6917a
111a97563248102fd60b6db6f67a137d55317556c58fdb

alpert305.AccountInfo.txt:

MD5- 24f172c%ef2 1b5a996c7c3 13ad096cfd

SHA512-
£b487a262733f0b205542cc5f7ecc463 1234bf3f4c23 6cf50202 1c3e 19823 06ac4ed7f8af6577a340 1

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eee

2d255ccd79dba4de7edae8fec4bf68d65344cl 1fb9606f
alpert305.Calendar.Events.zip:

MD5- 16f547d133242df6f4 lecceSe36d28c0

SHAS 12-

a92329a3f55c2d28d86fa322b22c8a9abebe 148db5fca066ac26 1 809d0161276dd42d2bf46487ca57
£87726940fed70a00cf98 6b6fcc29 18776a952a5ccb98a3

alpert305.Chats.zip:

MD5- d5d2430addb 1 4ff66054cO0ebed772£47

SHAS 12-

ace6caacb5c8842df47cc709b2f070d0d40 1 3fe0e2f050f7a5dc4335c6d26bae26c | 1b000fe 1 bf26045
cd4892ffle8dd057f674 13a2 ldb1b1a24b0£8e97778 If

alpert305.Drive.Metadata.zip:

MD5- 2b6c543bb4be355660caf7296d6402e5

SHAS 12-

35b7bbf5 12be9febbfbc3 9cb 1a823e5 10a00a69b45 1 8af968£645288668f4854dd28fa2c850aa76bb 1
9d30cc66825df12d101c0d5e175f85ca6aac 6ff8b80c68

alpert305.Drive_001.zip:

MD5- 2ed027c969a4a6c0d96d88add8dabea9

SHAS 12-

8930c1la4 lal 6fdaa5al 840d4af3 1 6fe0347398773f3 7682ce955fa0ab53a4aa5c480303 1575e7fec05
616fd2062a3bde 1 f7ab57037600d4a87 1b 1leb9739255fe

alpert305.Gmail.Contacts.vef:

MD5- 7702728cbd544aad9b880e5630996a05

SHAS 12-

66f6475a52ba4f997c6c9bfb88 179bf303e3d3 155c 1649262093 1a6e392cfc5665a75a5f0d 1a0206a9
429762cfd42826dad70bcf2a797682f89e 1b8e023ca0ed

alpert305@gmail.com.Gmail.Content.mbox:

MD5- 0a59e962¢55f57d14c5a4c90d8474b87

SHAS 12-

671c4d950a464700000d9a5 2da8ecf435faa5ca49c95a87bb0026da886b85f3a3a3d63763087fdb 1 |
e5df37d0a0efc7583 1 6a5a7d5e 1410894667 labe29edcad

amycolburn1.148144309382.AccessLogs.Activity.zip:

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MD5- d889a2cb28b375967b9a99d3af3a9c33

SHA512-

8e2051028a442111bd25540da4d07b3432df6ed9f3b44a95 fSafee734 1df59ba889d635d5b66f723 1
A4df720d6cdee6198e1d806a7d557108a854d7488bfce3a9

amycolburn1.148144309382.GooglePhotos.PhotoResource_001.zip:

MD5- 263862ac68f70c037e483058b7f52fbc4

SHAS 12-

98b1796e 1864ef42d4e2963b 1 8fb3d5cec50f675045aee9 | 6bal 03a9304f5430db50a5alaef4ef2550
$16a672b25d21 ldcdca8e7e2b123a40de2e8e7ea59254a

amycolbum1.AccountInfo.Preserved txt:

MD5- 54dbe631fb549beab77ed6f8bad9 1 0a3

SHA512-

72bcedc0cbb9243a62b8d0454f029ec2eeb46fe74 7ecad765ba5 352886 1336d504cfd06a756c77aa9
6521d739753d08e6677792790296242dcb900b64 7 fff6 1 1

amycolburm1 .AccountInfo txt:

MD5- d39a98042a39ddda4f3a049bda30f504

SHAS 12-

1¢739abde068256e99c34d0c3 le lec246d77 1 bf4 1a3 1 1a375c1207b769b494309253c48a887c7866
€22182 lefb825ba3£2980db9 1 9e05f53dcab3482c49e9723

amycolbum1.Calendar.Events.zip:

MD5- 342bdee855cbfd92b9c63212f8d97a25

SHAS 12-

7918194cf3 6cSabfb5de309f8ea77 1330b3a4257d894ba5079bd6e0a02ceb7f7f2cf4b7aad8 0bdf3a6
1928c3d8102bc 1 fa3b15a37b85bf49354ceba4a709f1b0

amycolburn1 .Chats.Preserved.zip:

MD5- b9106770f5b04al 7fa29dbc 12a2cf3a7

SHAS 12-

ce5589ab5 1b03c4a772a8e4b65fbfbb6ecc3eb6cf04b50c33a94aa958dca2972d04a95d340d427382e
a5bd090255ab597483359343e7a993f6bb8 0efb36ca477b

amycolbur1 .Chats.zip:
MD5- fe96a32d83297ab8c69bSeaa5c124df7
SHA512-

3a49383b3730aa663f75de8 144bc6c029777e72e5e9e2 Lde24be135ed3 18c1561a5f62bbd045b49ab
ce3388eed6ab9d49f09e5386 168a8 84 1a796347eb062aec

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amycolburmn1 .Drive.Metadata.Preserved.zip:

MD5- 1e6a420600152b8d07067c5c830aa5b7

SHAS 12-

5£69e2c27fbc988 le8f92de66f7a7b40a5ac2768b 1522bd3e75 8e0689e72f8 baeb9ef9984ac090eE766
e5cabc603ab4aba24696c8f65 1237£772a8bdbb | S5faad8

amycolbum1 .Drive.Metadata.zip:

MD5- 36f9ae25fd03b5 17dd6990f9d8ebb309

SHA512-

2b74fc553cc68 lec53e400a200e937¢ 1lecaa566 1566155 12c49f765 1164a38241802549 ldf6e8d85ac
382d5a71521677179585£7369ce89753ff9a929843 1d26b

amycolburm1 .Drive_001.Preserved.zip:

MD5- 2ca0fc49d06f1 6bcSbded0329f84 1508

SHA512-

51b8e913f632c6c9bb9ad67079ebfe5d092 1 7d3fde4f20c00b93ba86 18b844 1ac6f59c4b8c3335288
8e09P P24 fcc 1563 9bbde8beecfbce 1 bbe80d38ce8990bb

amycolbum1.Drive_001.zip:

MD5- £25bb3 16286c26ed295bc52c52714b16

SHA512-

989ada6df4e 159b48 17922¢34635fe45526cc254d3 15062b58c5£8063 13d1383ad96be66ae70bSd5a
c5a96fb3 0f6c0842 1a4ba0f3506344c8682041178861a45

amycolburm1.Gmail.Contacts.vcf:

MD5- 5be59c0aacb0acl 1df02c9a38 1929eac

SHAS 12-

5b6b79d2cd1a969353440dea2cdbe45eb4bd784c860c609f8 947 13d4d9bdb92246 16a786bdde5c8 1
27cbe94c8a536bd0a9d9e53 14146b383d3bd8efe4b324 196

amycolbum1@gmail.com.Gmail.Content. Preserved mbox:

MD5- 9bd327cf3d983 1 4ba4cd3a7a0be33 9eb

SHA512-

3d03b291d2¢7f080a757e78d300aaa5c22886e5ea24f2aac | bee 70d334acbbcf5e47fd867bcacs5308c
Ocf0a3 4ea0af65c279afc90308b 1 4a6660e13200750f9c

amycolbum1@gmail.com.Gmail.Content.mbox:

MD5- e8c50 lalcebcb0e66bbfdd26e30a9eb4

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SHA512-
0d8b0a96456b1c873229b42¢e1733d7b40e7e3b58d5 6bcbec9b9a3d3 0F5 12ff0d54bc420ccc345e91 1
ad5a14c56d4a979fd9648957563b58363d242ce08ee2 185

dianeblake.63586676264.AccessLogs.Activity.zip:

MD5- 05bd8f62 19f998925bd9e670a38 1922c

SHA512-

f0a3c20100d0f1211073d73c695b2a4976399b29897 18200638365c30d99c88ddb540f42aa4bd53 1
b63634577dal 95f0d83548cacce0bc0525683c696aafa5 26

dianeblake.63586676264.GooglePhotos.PhotoResource_001.zip:

MD5- a3f65bb67ffb3 2aff4c 1 fbbb2f8ec 152

SHA512-

ba9b8afeae3fl 14cec45a8eb7b4a7d4bd24cb8 15863c84c3f5 80afb4a693 bfalcddc5d991 I bd8efl4
0c7d07b32aebb5 1 76cef9c4f5320b509 1 bc67bacf44 13¢

dianeblake AccountInfo txt:

MD5- 59b7d9e00ef7157¢853374c6e 1535919

SHA512-

91624684fbf7a68000 lealae 1cc398 9ab5ef00 1f89d5567898f2be35b4246e74752860a52alc8ealca
c5b1b6f796119db746a9aa6df69ed4925ad6b3863f00cc

dianeblake.Calendar.Events.zip:

MD5- 740e8 leeaa592e9445a1358al 157d613

SHAS 12-

£90764afcd0a9cf26628ed0c94aaec le0S5cf4c70eb74aba83838e5cc52 1 9c6b0fa4al 3b26026fd644 10
43d3ae320d339c6169£26774d30e2cdd80092d697P2ba

dianeblake.Chats.zip:

MD5- 67403353 lbdbf587be2226f05 17a2495

SHAS 12-

0d2063e8ac8977¢c137e0d04849 197c73e6d63c3 151 lf6acf03b3ecS5cead50ab6e33dde2fP2 9ba902b8cce
909be2c07fab460efa498al5 158b077b2ba7dcc5b882c5

dianeblake.Drive.Metadata.zip:
MD5- aab78849f29042¢¢04030b58d54a062f
SHA512-

343b293e7a36e2997bcd5 1dc160465e97088a26f8aca89494edeec260112d0d1d3c0fe24dddd5c74b0
795 1ed61530ede32becc3e50434 1b 1a783cb47b2cb0119a

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dianeblake.Drive 001 .zip:

MD5- £95724ca35b25b9 1 be3f182dd0a7ffb9

SHAS 12-

43ffa0985 9f4fab7825 1c8c04fd047ac 102be89a17270a20478d52375fleab338587e605ea422e6b69
bced44 1b59c01d6f3e38578e0fc2 13844acacdada20dd07

dianeblake.Gmail.Contacts.vecf:

MD5- 204cf6f49369c24 150e8b56a5e1a3663

SHA512-

5703592 13a5fdd6bd8cc1 73 1bfal8a899 1 1 fa3a8 1 1cd480376d2226¢e4ca7300df0e06733bacda3394
d76a865fS5bcf2747c5£2642 1b82aa6559390bb9c1799ea4

dianeblake@gmail.com.Gmail.Content.mbox:

MD5- e6480c074¢1c44c4261e54eb1 1 1a9002

SHAS 12-

7a4ec776639 15820a5a92f2aed4cab697d4dcead5af976762c7a4aa0af26d3 1f2.dbbd30f239134679e
07960febb2589250db7f1 le 124ce6fdd1c21890d62d560

ekimmel8 .682445536808.AccessLogs.Activity.zip:

MD5- 0a962a095 1d2b7f64ddcc9c 196135d6c

SHA512-

Oec 160fb73d8ed7a3ba329353790ffa08ffla2d06d5f74a 1 5bd 1 60fa5795e0333 19b lef27flaf2b43 fd
12c70c00afce9da0f0e0b248be3bb 1992d9687d87ce23f

ekimmel8 .682445536808.GooglePhotos.PhotoResource.zip:

MD5- c4e232bac4f5b8c0a3 6a5a4efe7dfic39

SHA512-

1¢363 led80ceebcco9920c3alc9e18bdb92a55284ce0d7c9a70 1 b5 9fcdd822ffe4336b4c99862e5e2c2
€4330d765b6bacf3 80ed8dcecce8246d85a7893dd55be82
gamalaziz797.1045412380265.AccessLogs.Activity.zip:

MD5- 799f78db5d30486491d91c47f06b5eef

SHA512-

focb5d0f9cdd399aa8038635361726e5 828 9f9dc93e4505 1 0be20d6bedf7ded 1 64fd2d11e6473141b
7a4989 1963 8c52482b8d168a6 149a60410c6e8687abSc7F

gamalaziz797.1045412380265 .GooglePhotos.PhotoResource_001.zip:

MD5- c671844a2612 1 bdf2c812d4274243fb2
SHA512-

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eee

b8d1598ff3 1037bc4b0b37d03 bce 789da9695e56d1b 1c 1ffla9a2e30e74a9f3 6ae98cf4208e3a0a056
02d8cb9fa265dc3 185 1c¢86945f37fc5b 14007 7ccc4 1 f6e

gamalaziz797.AccountInfo.txt:

MD35- a48ac27 Icfle1356cd09a9262f473d84

SHAS 12-

ca38a40bfd6733ed8c8dca93 1 5cda4f876a0b05390eb9d2ffaf9 17c4 lef29e82ca24cdbe5 0ff39e60be
0e5b46d249343 1d6d90922c070b0 1407a8fc5927129F8

gamalaziz797.Calendar.Events.zip:

MD3>- f6db ldf6f0 1db153bal 6d5f83bb47823

SHAS 12-

766371853 10797616382802¢ee37 1d8958a2a4dee907b32f4204ee24ccd34 | 3cacf0a25bfa5413647b
77a62c led8a5c036cb30a38e960efa63460ba4 92 b800cda

gamalaziz797.Chats.zip:

MD5- 653dcf8c9b25f05eb4386190bba625ac

SHA512-

d262066dceal fc7 7278371669 1le24d2baace 156207ce3 160798 fe4d9a23d369627df3 7680398 fd557
dd73bf13538b8be486d1de9 1a628 1¢8201¢2d469 1ce9f42

gamalaziz797 Drive.Metadata.txt:

MD5- 28682¢2ca0c0627e528afc9f5 7cb877¢

SHA512-

a7b026a78e66da302 1b4932bdf4 1 80fe8cc4acfb42ddffe2b2287ab9e 101 ffb64137dbcf24c5200a8 1
3d6dd1687a5bd76927a7870ebe790358b629ce 1293634

gamalaziz797 Drive.txt:

MD35- £580175fa3dfefc73ebde2ee3 | fof036

SHA512-

$368 128f4bc 1 98bd09a8ad32fld7 15cb467aff4 1 c8ba9b80f6c72e534064ab53094936 1d587fb6bff
2c6feb9b0d22fb23325f00afb37 6fcaab89559f45c07ce

gamalaziz797.Gmail.Contacts.vcf.

MD5- 25b6133d418f5d88617a8 1675d7de84e

SHAS5 12-

ac02ca78bb2aa8b9fde 75f6007d40ed6 lab0dc829cd5 1590 leOleb5 106facbcd2c9fa6c52736ceba8&
£32435cd6e3bcaf6l93 90be6497d88273a7b0a05 75547a

gamalaziz797(@gmail.com.Gmail.Content.mbox:

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eee

MD5- ec620e696ab9ca827e18505ed760d2338

SHAS 12-

60632 18eb1133882d287f1 16adc99d553bfe9cccecac0ec97b6609aaabaal 5fl 1Sdea7e8df0b735fd1
70bd5f0be 134b4edcb2d30647e9c02883fb93d9df0fc7b

homazadeh.28 1966149661 .AccessLogs.Activity.zip:

MD5- 140b6886 1 9dd9f5cfa99999f3e82dc6d

SHAS 12-

cdce3d96bb0cfacfb9950577a2bc46 1 1 8dbdce33 1 fa635865086b98b348b8ee4a8b9 1a65158702686c
47e3a6f99a745b8dd55050a65e84229a4 8a8cfc4dad9de lc

homazadeh.28 1966149661 .GooglePhotos.PhotoResource_001.zip:

MD5- 5278f4d3a27a05d36638da2 1 5bae 1600

SHAS 12-

e0f0S5ed8a483cccb623af0c0ed 1824ce62 16e783280a2 1 6aa4a3 lcfc407436fab la0a7 1807e7bf0385
15694116907 1f3062b9e82a8ac06c8b3ace3a36b6262d7

homazadeh.AccountInfo txt:

MD5- 3641618b9a4843 178e3d30b68f9546b0

SHAS 12-

a8accb 155daab6b534952ef48cf0206a1 bfb702956a69966 | feab6592873daa2838b89b24ce8a2802f
€9131a7323a2d4202609a97al f7ddecb9 1 fa8c5 1 6feddb

homazadeh.Calendar.Events.zip:

MD5- 7dc0844acb43697b5 83f65 1 3aff4 10b7

SHA512-

5487ab557823c65d000c4f77e30e26356f63494e09 10c9884b0a799b8c4f4c7dea8fl 5b58cea77d034
O8cfb4ddb22496f6463a28d984cd39d305d542fdec6017d

homazadeh.Chats.zip:

MD5- 58b9afc4eb2fc86ab2c0f5c8 1c40bb10

SHAS 12-

d33cbf3a0ab3829dcdfl 762f22d12 105 bbac4d90f3c¢73fc54 176943 9dcecs5ad56f19467f8f3afc 1a56
f7ac3fb65 15a91613887f9a95 905 1 9¢2eae96a092533¢e

homazadeh.Drive.Metadata.zip:
MD5- 6b44f4a826cbd 1065ac3e940afc4d289

SHA512-
clabc534e0e5029767e2d4c3c74 1c86c0765fd46c6bb02686 1 69e8dc05a2607838483752f6c07bf3al

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eee

b666d3b55ab7e45 1298bea533366870 II cb5fce4a99d7 199
homazadeh.Drive_001.zip:

MD5- 97ab7f2d169f4eb6e4d0b190183b02cd

SHAS 12-

6b2eaefcba990 lee92 bafd78657954a754e373 14£d530fe8368984a88 1016365438876 1 4daf282650
$a504c6e5ae36c2bfe7fecb2565e59aSafde8a5 1c1012

homazadeh.Drive_002.zip:

MD5- 6905e619¢7c02025ad7e55fdb833bf30

SHAS 12-

5076f6a78fa95b6a6bf25 lfde9a925e37440a5f3d9f8284 1 73al426f2d4c98b47d733f3064d3262808
c745c35cbc68ff80d02eab3 12d6ada07 leb77b879e4f5b

homazadeh.Gmail.Contacts.vcf:

MD5- 300786b7ce7b73cb48 1428584bc235ab

SHAS 12-

5a0d4b449 1ed0a74 1f9a7ab2bfc03ca29ad8b853433 130763 6cf883c483ec5fc048b69f9 1 f098c56d3
ca249e9ff0ef9629d2ec63d 1 95f86b48fbf208379173cb

homazadeh@gmail.com.Gmail.Content.mbox:

MD5- 0b2504f96f7 15 1 bc3b2e9dae96387cfb

SHAS 12-

b23al 6addc52d425d68d64de522 1769677994aae9c 12b59a988d26957d 16 1bd5b0d77al 3c 148839
ca5cb6833c8 laeb8ff62208f9b66e9ca00eS5ecfbO08f48 bbfl

kylie.schuyler.45522097912.AccessLogs.Activity.zip:

MD5- ce29f343 leS5ece2090ad63 1d848e5f73

SHAS 12-

9acd17e7 1a2c898667d8947f67c501 1a374ded94cd37b4093cc 1 135e059bf36ea77d38 1 0cca 12062
128c3af87dde7284ac08 1a7b72457d67 | 8fS5aefc51d1328
kylie.schuyler.45522097912.GooglePhotos.PhotoResource_001.zip:

MD5- 6126400a15f43c799albcb2d2dedc27d

SHAS 12-

ebf96acfb26f896a4 17207£70 10675 fb4cda860ba4 9ab8546b2e8500573a4 1f36ba7369c078 lceeba3
d5fdc0d6af7 1 161b65fbdb735de8b01147bac433ece 136

kylie.schuyler.45522097912.GooglePhotos.PhotoResource_002.zip:

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eee

MD5- 18397c5fe46c82a66e3fafbf6754b07f

SHA512-

43e0aa44d1e02f06b88739a5 14cae79a59c5c63 1 bfb3834c8b63850cc450a006a33cd4b0bced37739e
5ce72fd0e2fa6d5 1 8aa95fb4 1 de35c5c007ed28ddb5ddb9

kylie.schuyler.45522097912.GooglePhotos.PhotoResource_003.zip:

MD5- f06ac96e2429¢9218f38224667d1172a

SHA512-

a69fbeaec4c2be3 0f5 7£9754b8 19a339 1 Sbe90f978933140227fb5c87d59558087ff52a2c795a202c6
2120dc5bf394d139b3 104bbedeb49b84ba5 1a9c6f36d95

kylie.schuyler.45522097912.GooglePhotos.PhotoResource_004.zip:

MD35- 5b 1f0af22e980b3c700e8b0bea2d55d5

SHAS 12-

$e23d9f5206377e5 7feNeb32daeaec07568428b268 1898de7a408c5a43ad66f447de370d9cd90fal7
3e19ce 10636ae63 9e lefe2d60d737da44933227 1 19cdac7

kylie.schuyler.45522097912.GooglePhotos.PhotoResource_005.zip:

MD5- 9276ff644e3c63 15919b0 1la6f9f154d0

SHAS 12-

0ce454d1709bec 1d05a67630b8758b882364 1f1 7e359449865974 1 Oafe lac5b8c826c0ad9ad693¢ 1
424b0 1e80edd16838e729398497569¢50460077063dc2071

kylie.schuyler.45522097912.GooglePhotos.PhotoResource_006.zip:

MD5- 435e01972cffe0f8a8cfa8488 18b7969

SHAS 12-

fbd49deed16a3c084d10375c3 1a9303¢39ae3 7c8ec464c52785a7f4bf5 1d102bfe86ce05dal22b799cc
7e7433093a585 1 7e7a20b9c5ff2d8e64 | 6efaffdf8 Ladd

kylie.schuyler.45522097912.GooglePhotos.PhotoResource_007.zip:

MD5- 5dcb387a869d236a04ad09e23484ee5c

SHAS 12-

88864 faa98dc2cb964d0 1a419a39b9 1211368232 faeff8§cbdeabf2e288cf5 bbfebb56790b57373cd47
9fabb7d0 1a6374ab8ba24544c657d2c4ba87e 1 3be90e2 1

kylie.schuyler.45522097912.GooglePhotos.PhotoResource_008.zip:
MD5- 71b1179alb5d09f49 1 lbdde2dcefc laf
SHAS 12-

43650f787645¢e4d36ec2b83435f282c5e3445e75 124b90ed075b2£82704cf05c 1laf952967349d9020
Obc8bfbb095409cc88682d4cdb6f0dad 12449d7f47ea9 15

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eee

kylie.schuyler.AccountInfo.Preserved txt:

MD5- 60dacb00af2087207cac2294886322fa

SHA512-

42032c5e60f0cc7ffd 125 9a8 1 6bf59750bad9 18 1a9 13 1a6d724c0bc2c9ea9a6a3 763 1b4e26616d5c7
d374f3efa2bc1864a725 103ed8ad30b946f9 1 169e66e24c

kylic.schuyler.AccountInfo.txt:

MD5- 769c575e7523d17bf9 1b574 1b948cb46

SHA512-

1a76627027135 1d11286a895a6478906ce67b2 74d bf2ff35202f152d907562767f6cec46ca333026df
d8 1£74b7bc298ac57db0a6a9d3ddd4d3bb6b87ca06bb902

kylie.schuyler.Chats.Preserved.zip:

MD5- 499ffd897745a8635e992e29d 1 1a859a

SHAS 12-

d649d2a8c093ca7e7db8f3789f1 59f5 9d2.cbfcd 1 6f03 6cce94a9d3f95e79 1 8c40f1db5d020256a6a2e
ea259faa60 1ce64ce95b292e09807 lcdel 16cb19055abe

kylie.schuyler.Drive.Metadata.Preserved.zip:

MD5- 72ab08d313357b2bb7135abal 9e4ecfb

SHA512-

82346ddd57b03a5790 1e8e9b040f897cc30328 1c693b8e7642d5578ab629dbe 1 83483e53ac9b 1829
d79d0f10bb270e85b76adbed2767b802200b77eb80 106c2e

kylie.schuyler.Drive_001.Preserved.zip:

MD5- 475a7b39dff9e5758albc1519061f03d

SHAS 12-

ef57e870ebc3fc5 6b5 0f0cdc48bd7b0e9844bb6a6acb4d892f9d69abc 16975 132241414ca339b68c0b
52f09e276da00f5 8 1£570529642d22665aadc24004fc%ec

kylie.schuyler.Drive_002.Preserved.zip:

MD5- 8d166f574f0de2b39d684f9f365d036d

SHAS 12-

2fa6fb207baeaabafff7 fcbd8b4546ed33 0ebaff766a8e30ac la0fb 1 f8dbdf7 1cf4bb0014546ebc972c9
e885eb0d05c7974866c87ddecce35d5a844750289025

kylie.schuyler.Drive_003.Preserved.zip:

MD5- 2d0cdde38920a7e535e7c6ebf6 lecOcd

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eee

SHA512-
e3e7¢75329d603 1 lbbd8a03 8abf0f3e46f5 867932 1 423ff72b79d5b924b294428633 66ebeaed68a47
78d2249ab6a5 6b06bb3 16d96f47b 1876a97ce3077c06f55

kylie.schuyler@gmail.com.Gmail.Content.Preserved.mbox:

MD3- 4f65 lcffa65da0683adfc6b3eab0f1 26

SHAS 12-
3af3060f67eff3cece9e54a5602ed223583b5e3c44adcd6edc7f06d38c6e8F1£89b54 107039b2770a4c
c070e02d3075a5f6f1 98bdac27 lec9c5fdald8de9434c

kylice.schuyler@gmail.com.Gmail.Content.mbox:

MD5- aa73059cb2 133864635 9bde0f9c46chd

SHA512-

411981414f998a57aa945 13ad20 1 bdd3b3b7ba94 1 4c8eb956a56638bc6adebd95376ac270d143560
£30a8804640532 le75feb85c294a3d432b56aa2c2 768064

Igiannulli.422696199229 AccessLogs.Activity.zip:

MD5- d18683652dfd 1394532 199¢2e9348274

SHAS 12-

3b3fc82525959cc725502e9df00204ce82171d35d9b 1 dff#7904 1e487c4cab00cf40be4bd89 1 9ebf7ba
a92979acfe4 1f2e4e59a94b | 06a5beda5b 1 b8be3728a40

Igiannulli.422696 199229. .GooglePhotos.PhotoResource.zip:

MD5- ccc663d928f3dacfcf4secbf9 16d 1bd4

SHAS 12-

b6d83a0936839947c123ac2cd3a7bd095928ace69a64a5 fafea3 3 6¢e 1 0f5b29979de22eaa99cc47da40
1flc7b80e3ad3 6ce7fc5 0adf5b79ab3 3fc749683dab49d

Igiannulli.AccountInfo.txt:

MD35- f0fal0560ebde2cf869al 2 lefaf2bacc

SHA512-

014891 f002cf3aa2dfb 18 1d9745 lac8£89a96db648be5368789642db9df6268792d8d7e 19b 196804
89f4ba2c lee 192a2d5537e63c130c0285d5fb207724785b9

Igiannulli@gmail.com.Gmail.Content.mbox:
MD5- abb184611992cdd4172993761755dce
SHAS 12-

055353d9ca619dce26ada60a40193c4bf855fca7c3bab3 df06fd89604 6d6fdd95 0cec06048c7b4 1 84f9
e6cddf68ela563ca12436ce036c4c614129f5ba2422a602

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eee

myjanavs. 192792690423 AccessLogs.Activity.zip:

MD35- 4£39684fa89ab99767 1 lbdcc36b3054b

SHAS 12-

1f43430a2e4a5c6d3d655ebf9778cd273589bb6435 76425 86e63d3d70166abaledc749bd359b2abfc
be9f6d 9fffl c94abf9e72 1 Sefe803d8a09e0eda5a5 75929

myjanavs. 192792690423 GooglePhotos.PhotoResource.zip:

MD5- 7027eee3e6f9ec745e8b9055ed06300e

SHAS 12-

526083 le0a29980be8 1f80770 13d lecce64635b27a28d4ad0 1 17d565ff76fdcf5d185 7aaf27f7ef5 60
43cd2244de 1 f6fcf29 101 fdflec08b5871399130ddd5c7

mjanavs.AccountInfo.txt:

MD5- 21dd3ad470ba7770 1d9ef86460ce752e

SHA512-

d5£2275477da75f3e9f9c41fc485838 1b3d23d2 16a23009cb6dc694c607b86f745 0add785999bd22¢
4d1a64d3ac5fc58b590126dd95 1 0dabf7708589a4c0b033

mjanavs.Calendar.Events.zip:

MD5- 9b5fddbb3ba29528582d7aa4b4f494ae

SHA512-

ffdf91e2bd45b9876784 103cd1f48dcb279f3 1e4e3d98305b3 12b37 1 fb8bf20c4d77e89e055a0268e9
292544 18da25e044 12f4c22d61b896508e8d79fF1 fl cbc

myanavs.Chats.zip:

MD5- 585e09f60af0a7d9ddcf755f6b157a49

SHA512-

44eb52e3 1ceb254228459840fb9e432f5 7004 167829 1594 fbe0892f5 1e09a5e77 laSbdec4e25 1 0bfd
a241d1554¢3083b752be5ab2ff6cf6e6ec884d68e4 1a00f

myjanavs.Drive.Metadata.txt:
MD5- 28682¢2¢a0c0627e528afc9f5 7cb877c
SHA512-

a7b026a78e66da302 1b4932bdf4 1 80fe8cc4acfb42ddffe2b2287ab9e 101 ffb64137dbcf24c5200a8 1
3d6dd1687a5bd76927a7870ebe790358b629ce 1293634

myanavs.Drive txt:

MDS5S- f580175fa3dfefc73ebde2ee3 | fbf036
SHAS5 12-

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eee

86368 128f4bc 1 98bd09a8ad32f1d7 15cb467aff4 1 c8ba9b80f6c72e534064ab5 3094936 1d58 7fb6bff
2c6feb9b0d22fb23325f00afb3 76fcaab89559f45c07ce

mjanavs.Gmail.Contacts.vef:

MD5- 6def8986e2a7a46008¢47d79dbc46d26

SHAS 12-

bd2e59fdfl 68a8 1416799d2a57a0e54183c55e18007008590697 1] Lad 1b0f45¢20699e322 197b1220
48225f2a1d265e1963ddcd4b5d46a8e5 178985f5d1c9203c¢

mjanavs@gmail.com.Gmail.Content.mbox:

MD35- a0fd0abb3 bebf33ab39772353c0lab17

SHA512-

6£7597f62¢e 74f2ce73902a6b3 bd6ea798977¢355f230e0 129c98c4 1a3cd7354452eabSaeebe2d35f9
Odafb 1 10alc8eee72ef27al 2f0cc9b 169658b75ef24bf1

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